Proceedings before the industrial commission by Jefferson county against Dodge county to recover for relief granted by Jefferson county.  The commission entered an order in favor of the plaintiff.  Notice of appeal to the circuit court was served September 12, 1939.  The circuit court affirmed the order of the industrial commission, and the defendant appeals.
Jefferson county, in which the family had lived for several years, began granting relief to the family in 1931.  Dependent children's aid under sec. 48.33, Stats., was granted on March, 1936, and continued through November, 1938. On October 8, 1937, the family moved to a town in Dodge county.  This move was made in the hope of bettering their condition, but assistance was necessary, and was supplied by Jefferson county.  On January 6, 1939, the county court of Dodge county ordered the family returned to Jefferson county.  This proceeding is to recover for relief furnished by Jefferson county after the return of the family in January, 1939. *Page 239 
This is a poor-relief case involving questions of place of legal settlement and whether public aid in the form of mother's pension under sec. 48.33, Stats., constitutes support as a pauper.  If so, then its receipt prevented the acquiring of a new legal settlement in Dodge county.
This case is controlled by the decision in MilwaukeeCounty v. Waukesha County, ante, p. 233, 294 N.W. 835. The difference between the cases is one of fact.  Here the father is alive but unable to support his family.  In the other case the father was dead.  The ruling in that case that sustenance in the form of dependent children's aid constitutes support as a pauper and prevents the gaining of a new legal settlement, applies here.
By the Court. — Judgment reversed, and cause remanded with directions to enter judgment reversing the findings and order of the industrial commission and for further proceedings according to law. *Page 240 